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IN THE UNlTEl) STATES DISTRICT CoURT 061/§§ "
FoR THE WESTERN DISTRICT 0F TENNESSEE §/

 

EASTERN DIVISION
JEFFREY BUTLER, )
Plaintiff, §
v. § NO. 04-1160 T/An
ORMET ALUMINUM MILLS §
PRODUCTS, et al., )
Defendants. §

 

ORDER

 

Before the Court is the Order Granting Plaintiff’ s Motion for Default Judgment filed on
June 9, 2005. Within that Order, United States District Judge J ames D. Todd referred this matter
to the Magistrate Judge for a report and recommendation on damages

lt is ORI)ERED that Plaintiff shall submit (l) an affidavit that sets forth all damages to
which he believes he is entitled and (2) submit any and all documents that he Wishes for the
Court to consider in determining the amount of damages in this action. Plaintiff shall have 30
days from entry of this Order in Which to submit these materials, and the Court Will make a

determination after receipt of the affidavit and documentation as to Whether a hearing is required.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: /

This document entered on the docket sheet In co p!iance
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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:04-CV-01160 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

Jeffrey Butler
126 Wilkinson
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

